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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
                                                  :
Jamie Davis,                                      :
                                                  :
                       Plaintiff,                 :
                                                    Civil Action No.: 1:13-cv-10875-FDS
v.                                                :
                                                  :
Diversified Consultants, Inc.; and                :
DOES 1-10, inclusive,                             :
                                                  :
                    Defendant.                    :
                                                  :

                DECLARATION OF SERGEI LEMBERG IN SUPPORT OF
                   PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                      MOTION FOR SUMMARY JUDGMENT

       Pursuant to 28 U.S.C. § 1746, Sergei Lemberg hereby declares as follows:

       1.       My name is Sergei Lemberg. I am an attorney admitted to the United States

District Court for the District of Massachusetts and I make this Declaration based upon personal

knowledge of all matters stated herein. I am a principal partner at the law firm of Lemberg Law,

LLC. I am an attorney of record for Plaintiff, and I am familiar with all the facts and

circumstances in this action.

       2.       Attached hereto as Exhibit A are true and accurate excerpts of the deposition

transcript of Mavis-Ann Pye, Defendant’s Rule 30(b)(6) designee.

       3.       Attached hereto as Exhibit B are true and accurate excerpts of the deposition

transcript of the Plaintiff, Jamie Davis.

       4.       Attached hereto as Exhibit C is a true and accurate copy of the Declaration of

Mavis-Ann Pye submitted by Defendant in the matter Echevarria v. Diversified Consultants,

Inc., No. 17, 13-cv-04980-LAK (S.D.N.Y.). I acquired the document through the Pacer system.
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       5.       Attached hereto as Exhibit D is a Dial List produced by the Defendant in

discovery. The Dial List is also Exhibit 5 to the deposition of Ms. Pye.

       6.       Attached hereto as Exhibit E are Defendant’s Interrogatory Responses.

       I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge. Executed on April 28, 2014.

                                                     By   /s/ Sergei Lemberg
                                                             Sergei Lemberg, Esq.




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